       Case 8:05-cr-00530-JSM-E_J Document 521 Filed 01/04/07 Page 1 of 9 PageID 1435
A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE

                                                                CASE NUMBER: 8:05-cr-530-T-30EAI
                                                                USM NUMBER: 48547-018



JOSE GONZALRZ
                                                                Defendant's Attorney: Nelson Rodriguez-Varela, ret

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                       COUNT

                                    Conspiracy to Possess with the Intent to      December 15, 2005                    One
                                    Distribute 100 or more Marijuana Plants


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count@) (is)(@ dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until aIl fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: December 13,2006




                                                                                  DATE: January 3 , 2 0 0 7
A 0 245BCase   8:05-cr-00530-JSM-E_J
         (Rev 06105)                              Document
                     Sheet 2 - Imprisomlent (Judgment in a Criminal521
                                                                    Case) Filed 01/04/07             Page 2 of 9 PageID 1436
Defendant:         JOSE GONZALEZ                                                                           Judgment - Page 2 of 6
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        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. §§
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of THIRTY (30) MONTHS as to Count One of the Indictment.




X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed in a correctional
-
institution located in Southern Miami.


- The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.
X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
               as notitied by the United States Marshal.
          -as notitied by the Probation or Pretrial Services Ol'tice.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to

- at                                                                              . with a certified copy of this judgment.
                                                                                         United States Marshal

                                                                     By:
                                                                                         Deputy United States Marshal
       Case
A 0 245B       8:05-cr-00530-JSM-E_J
         (Rev. 06/05)                               Document
                      Sheet 3 - Supervised Release (Judgment       521 Case)
                                                             in a Criminal Filed 01/04/07                 Page 3 of 9 PageID 1437
Defendant:         JOSE GONZALEZ                                                                                Judgment - Page 3of 6
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                                                         SUPERVISED RELEASE

     Upon release from imprison~nent,the defendant shall be on supervised release for a term of THREE (3)
YEARS as to Count One of the Indictment.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of [he Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.


-
X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
 1)       the defendant shall not lcave the judicial district without the permission of the court or probation otlicer;

 2)       the defendant shall report to the probation ofticer and shall submit a truthful and complete written report within the first five days of each
          month;

 3        the defendant shall answcr ~ruthf'ullyall inquiries by the probation ofticer and follow the instructions of thc probation officer;

 4)       the defendant shall support his or her dependents and meet other family rcsponsibil i ties;

 5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation otticer for schooling, training, or other
          acceptable reasons;

 6)       the defendant shall notitj the probation officer at least ten days prior to any change in residence or employment;

 7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, posscss, use, distribute, or administer any controlled
          substance or any paraphcmalia related to any controlled substances. except as prescribed by a physician;

 8)       the defendant shall riot frequent places where controlled substances are illegally sold, uscd, distributed, or administered;

 9        the defendant shall not associate with any persons engaged in criminal activity arid shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation otticer;

 10)      the defendant shall permit a probation ofticer to visit him or her at any time at h o w or elsewhere and shall pennit confiscation of any
          contraband observed in plain view of the probation offker;

 I I)     the defendant shall notify thc probation officer within seventy-two hours of being an-cstecl or questioned by a law enforcenlent ofiicer;

 12)      the defendant shall not cnter into any ngrcc~nentto act as an informer or a special agent of a law cnforccment agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics arid shall permit the probation ofticcr to makc such notitications and to contirm the defendant's
          compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        JOSE GONZALEZ                                                                        Judgment - Page 4 of 6
Case No. :        8:05-cr-530-T-30EA.J

                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also coniply with the following additional conditions of supervised release:


-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
      Case
A 0 2458      8:05-cr-00530-JSM-E_J            Document
                   Sheet 5 - Criminal Monetary Penalties
         (Rev 06/05)                                           521in a Filed
                                                         (Judgment     Criminal01/04/07
                                                                                Case)           Page 5 of 9 PageID 1439
Defendant:          JOSE GONZALEZ                                                            Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         Fine                         Total Restitution

          Totals:                                               Waived


-         The determination of restitution is deferred until       .       An Amended Judgrner~tin a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 8
          3664(i), all non-federal victims must be paid before the dnited States.


Name of Pavee                                 Total Loss*                  Restitution Ordered               Prioritv or Percentage




                             Totals:

-         Restitution amount ordered pursuant to plea agreement S
-         The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine       - restitution.
         -          the interest requirement for the - fine     -      restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 1 10, 1IOA, and I 13A of Title 18 for the offenses committed
on or after September 13. 1994, but before April 23, 1996.
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         (Rev 06/05) Sheet 6 - Schedule of Payments Document
                                                    (Judgnenr in a 521
                                                                   CriminalFiled
                                                                            Case) 01/04/07     Page 6 of 9 PageID 1440
Defendant:        JOSE GONZALEZ                                                            Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   , or

                            -in accordance - C, - D, - E or - F below: or
                  Payment to begin immediately (may be combined with -C, -D, or                            F below): or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $              over a
                  period -of -
                            d        (e.g., months or years). to commence              days (e.g ., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                 (e.g., weekly. monthly, quarterly) installments of $               over a
                  period of
                               , (e.g .. months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will commence within                          (e-g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penal ties:



Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:

X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or onions thereof. subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees. &e Court makes final the Preliminary Order of Forfeiture [Dkt. 3821 and makes it a part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties. and (8) costs. including cost of prosecution and court costs.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

      UNITED STATES OF AMERICA,

             Plaintiff,

                                                        Case No. 8:05-Cr-530-T-30EAJ

      JOSE GONZALEZ,

             Defendant.


              PRELIMINARY ORDER OF FORFEITURE AS TO SPECIFIC
            PROPERTY AND ORDER OF FORFEITURE MONEY JUDGMENT

             THIS CAUSE comes before the court upon the filing of the Motion (Dkt. #371)

      of the United States of America for entry of a Preliminary Order of Forfeiture, which,

      upon entry, shall become a final order of forfeiture as to defendant Jose

      Gonzalez's, right, title, and interest in the following specific property:

                     1.    Real property located at 9670 River Road, Spring Hill, Florida
                           34608, (hereinafter "9670 River Road, Spring Hill, Florida")
                           including all improvements thereon and appurtenances thereto,
                           the legal description for which is as follows:

                           Lot 2, Block 1719, SPRING HILL UNIT 25, a subdivision
                           according to the plat thereof as recorded in Plat Book 10,
                           Pages 61-78 inclusive, of the public records of Hernando
                           County, Florida.

                           Parcel Identification Number: R32 323 17 5250 1719 0020;

                     2.    Real property located at 12708 Box Drive, Hudson, Florida
                           34667 (hereinafter "12708 Box Drive, Hudson, Florida")
                           including all improvements thereon and appurtenances thereto,
                           the legal description for which is as follows:
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                          Lot 3, Block 14, ROLLING OAKS ESTATES UNIT I,         according
                          to the plat thereof, recorded in Plat Book 16, Pages 23 through
                          32 of the Public Records of Pasco County, Florida

                          Parcel Identification Number: 04-24-17-0030-01400-0030; and


     for a forfeiture money judgment in the amount of $20,000.00, for which the

     defendant is personally liable. This amount represents the portion of the total

     $946,000.00 proceeds of the crime, from which defendant personally benefitted as

     a result of his participation in the conspiracy.

              The court hereby finds that the United States has met its burden of

     establishing the sufficiency of the nexus between the offense and the specific

     property sought for forfeiture. The court further finds that the amount of proceeds

     obtained by the defendant as a result of his participation in the conspiracy as

     charged in Count One of the Indictment, for which defendant pled guilty to a lesser

     included marijuana quantity, is $20,000.00. Accordingly, it is hereby

            ORDERED, ADJUDGED AND DECREED that for good cause shown, said

     Motion (Dkt. #371) of the United States is hereby GRANTED.

            It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. §

     853, all right, title and interest of defendant Jose Gonzalez in the above-referenced

     specific property is hereby forfeited to the United States for disposition according to

     law.

            It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. § 853,

     and Fed. R. Crim. P. 32.2(b)(2), defendant Jose Gonzalez is personally liable for a

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     forfeiture money judgment in the amount of $20,000.00, which represents the

     amount of proceeds the defendant obtained as a result of his participation in the

     conspiracy as charged in Count One of the Indictment.

             IT IS FURTHER ORDERED that the United States may seek forfeiture of any

     of the defendant's other property up to the total value of the $20,000.00 money

     judgment as substitute assets in satisfaction of the judgment, pursuant to the

     provisions of 21 U.S.C. 5 853(p).

            The court retains jurisdiction to enter any further orders necessary for the

     forfeiture and disposition of the subject property and any other property, belonging

     to the defendant, that the United States is entitled to seek as substitute assets (up

     to the amount of the forfeiture money judgment), and to entertain any third party

     claims that may be asserted in these proceedings.

             DONE and ORDERED in Tampa, Florida on October 23,2006.




     Copies to:
     Adelaide G. Few, AUSA
     Counsel of Record

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